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     BAKER MARQUART LLP
 1   BRIAN E. KLEIN (258486) (bklein@bakermarquart.com)
     SCOTT M. MALZAHN (229204)
 2   (smalzahn@bakermarquart.com)
     2029 Century Park East, Suite 1600
 3   Los Angeles, CA 90067
     Telephone: (424) 652-7814
 4   Facsimile: (424) 652-7850
 5   COOLEY LLP
     PATRICK E. GIBBS (183174) (pgibbs@cooley.com)
 6   JEFFREY M. KABAN (235743) (jkaban@cooley.com)
     SAMANTHA A. KIRBY (307917) (skirby@cooley.com)
 7   3175 Hanover Street
     Palo Alto, CA 94304-1130
 8   Telephone: (650) 843-5000
     Facsimile: (650) 849-7400
 9
     DANIEL L. SACHS (294478) (dsachs@cooley.com)
10   1299 Pennsylvania Ave. NW Suite 700
     Washington, DC 20004
11   Telephone: (202) 728-7114
     Facsimile: (202) 842-7899
12
     Attorneys for Defendant
13   DYNAMIC LEDGER SOLUTIONS, INC.
14

15                            UNITED STATES DISTRICT COURT
16                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
17                                SAN FRANCISCO DIVISION
18   BRUCE MACDONALD, Individually and on )       Case No. 3:17-cv-07095-RS
     Behalf of All Others Similarly Situated, )
19                                            )
                           Plaintiff,         )   NOTICE OF APPEARANCE OF SCOTT
20                                            )   M. MALZAHN
             v.                               )
21                                            )
     DYNAMIC LEDGER SOLUTIONS, INC., a )
22   Delaware corporation, TEZOS STIFTUNG, a )
     Swiss Foundation, KATHLEEN BREITMAN, )
23   an Individual, ARTHUR BREITMAN, an       )
     Individual, TIMOTHY COOK DRAPER, an )
24   individual, DRAPER ASSOCIATES,           )
     JOHANN GEVERS, DIEGO PONZ, GUIDO )
25   SCHMITZ-KRUMMACHER, BITCOIN              )
     SUISSE AG, NIKLAS NIKOLAJSEN and         )
26   DOES 1-100, INCLUSIVE,                   )
                                              )
27                         Defendants.        )
                                              )
28                                            )
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 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT Scott M. Malzahn of the law firm Baker Marquart LLP,

 3   who is registered for CM/ECF and admitted to the Northern District of California, enters his

 4   appearance as counsel of record on behalf of Dynamic Ledger Solutions, Inc. in the above-

 5   captioned matter. Effective immediately, please add Scott M. Makzahn as the attorney to be

 6   noticed on all matters at the following address:

 7          Scott M. Malzahn

 8          BAKER MARQUART LLP
 9          2029 Century Park East, Sixteenth Floor
10          Los Angeles, CA 90067
11          Telephone: (424) 652-7800
12          Facsmile: (424) 652-7850
13          E-Mail: smalzahn@bakermarquart.com
14
     Dated: December 22, 2017                      Respectfully Submitted,
15

16                                                 BAKER MARQUART LLP

17

18                                                 By: /s/ Scott M. Malzahn
                                                       Scott M. Malzahn
19                                                     Attorneys for Defendant
                                                       DYNAMIC LEDGER SOLUTIONS, INC., a
20                                                     Delaware corporation
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                                                            NOTICE OF APPEARANCE OF SCOTT M. MALZAHN
                                                                               CASE NO. 3:17-CV-07095-RS
